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                EXHIBIT
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                                          Case3:20-cv-01018-RAH-SRW
                                               3:20-cv-01018-RAH-SRW Document
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                                                                                 THIS SIDE OF FORM IS CONFIDENTIAL UNLESS RELEASED AT THE
                                                                                         DISCRETION OF THE CHIEF LAW ENFORCEMENT OFFICER
                                                         83 Date of Report(MMiLIMYY)          84 Time of Report       0 AM            85 Agency Case Number                                             86 Suffix            87
   Inddent/Offense                                                                                                                                                                                                                    0 Offender               II Check N
                                                                                                                  0 PM                                                                                                                0 Suspect                    Multiple
    Report - Continued                                      10/04/2018                         16:40              •mn_.                18018075                                                                   1                   D Missing Person
88 Reported By(Last, First, Middle Name)                             El Vichm Or                                                                    89 Suffix   an
                                                                                                                                                                — M R 'dent
                                                                                                                                                                                           91 Home Phone                             92 Work Phone

   GOODWIN,JASON                                                                                                                                                      13 Non-Resident      (334)                                     93 Other Phone

                        94       95 Victim (Last, First, Middle Name)                                        96          97 Address(Street, City, State, Zip)                              98 Home Phone                             99 Work Phone
                        Victim #                                                                             Suffix
                                     ULRICH, MADISEN ELIZABETH                                                                                                  AUBURN, AL
                              1                                                                                                                                                                                                      100 Other Phone
                                                                                                                            36830                                                          (701)
                        101 EmployerlSchool                                         102 Occupation                       103 Address(Street, City, State, Zip)                                                                       104 Work Phone
  VICTIM INFORMATION




                                                                                                                                                                                                                                     (701)
                         AUBURN UNIVERSITY                                             STUDENT                                                                               GULF SHORES, AL 36542                                   105 Other Phone


                        106 Sex     107 Race           111 Engllsh           108 109 HGT           110 WGT        111 Date of Birth             112 Age     113 Victim SSN                                                114 Complainant SSN
                         am         M W 0A            0Spanish
                         IIIF       DB    Di           El  Other                       5'03"        115                            998              20
                        0;r:ilyncipm   115   116 Ethnicity   0   Hi
                                                                  . panic      117 Injury       11 Offender known to victim?           119 Vi tim was?(Explain Relatlonship)                                                                           120 Relationship
                                                                               I.1 .
                                                                               0   Yes
                                                                                                    El Yes         •No
                                                                                                                                                                                                                                                            Code
                         D LE Officer     •Other         Non-Hispanic              N

                        121 Weapons Used                                                        122 Description of WeaponsfFirearmsITools Used In Offense                                D Handgun           D Rifle              1:1 Shotgun        El Unknown
                         El Firearm              D Hands, Fist, Feet, Voice, etc.
                         0Knife                  D Other Dangerous                              Describe
                        123 Place of Occurrence                                     (Enter exact street address here.)       124                                                                                                                    125 Sector
                         299 N DONAHUE DR, AUBURN, AL 36830                                                                  Type
                                                                                                                                          N    None               I    Internal Injury         M    Minor Injury              T Loss of Teeth
                                                                                                                             Injury       B Broken Bones          L    Severe Laceration     ® Other Major Injury             U    Unconscious        11U
                        126 Circumstance: Homicide & Assault           i                       128 Assault                   129 Treatment for Assault?         130 Verify for Rape Exam?                    131 Treatment for Rape?

                        127 Location: Rape
                                                                                                El NIA El Simple                El Yes              El No         El Yes 0No               ❑ Unknown
                                                                                                                                                                                           El                  D Yes              El No      El Unknown
                                                                       :                        0Aggravated
                        132 Off N   133 Name (Last, First, Middle)                                             134 SFX       135 Alias                                      136 Social Security #           Rac       A    138 Sex         139 Date of Birth        140 Age

                                                                                                                                                                                                      DB       IDI          OM       OF
                                                                                                                                                                                                                           El Hispanic                          ri
 SUSPECT IN FORMATION




                        141 Address(Street, City, State, Zip)                                                                                                               142 HGT      143 WGT      144 Ethnicity                        145 Language
                                                                                                                                                                                                                                                                1,._1 English
                                                                                                                                                                                                      D Other                               El Spanish          ID Other
                        146 Probable Destination                                                                                                      147 Eye   148 Hair 149 Comple Ion               150 Armed

                                                                                                                                                                                                      El Yes 1:1 No                                Weapon
                        151 Clothing                                                                                         152
                                                                                                                                                                                                      153  D Arrested                El Dual Arrest(Domestic Violence)
                                                                                                                            0Scars             1:1 Marks D Tattoos El Amputations                          ID Wanted
                        154 Off# 155 Name(Last, First, Middle)                                                 156 SFX       157 Alias                                      158 Social Security #           Racti A
                                                                                                                                                                                                            vv             160 Sex         161 Date of Birth        162 Age

                                                                                                                                                                                                      OB       Ol           OM       OF
                        163 Address(Street, City, State, Zip)                                                                                                               164 HGT      165 WGT      166 Ethnicity 0Hispanic              167 Language         I—I
                                                                                                                                                                                                                                                                LI English
                                                                                                                                                                                                      El othor                              El Spanieh          El Other
                        168 Probable Destination                                                                                                      169 Eye   170 Hair 171 Complexion               172 Armed

                                                                                                                                                                                                      ❑I Yes 0No
                                                                                                                                                                                                      E                                            Weapon
                        173 Clothing                                                                                        174
                                                                                                                                                                                                     175   El Arrested               1:1 Dual Arrest(Domestic Violence)
                                                                                                                             1:1 Scars         El Marks El Tattoos ID Amputations                            0Wanted

                         Name (Last, Firet, Middle)                                      Sex            Race             Date of Birth                          Address                                               Contact Telephone Numbere
                        176                                                             177       178                 179                     180                                           181 Home                                   182 Work
                                  DAWSON,WESTON COLE
CD
III
U)                      184
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                                                                                                 186
                                                                                                           IT'        187
                                                                                                                                   1996
                                                                                                                                              188
                                                                                                                                                    SMITHS, AL 36877                        (706
                                                                                                                                                                                            189 Home
                                                                                                                                                                                                                                       183 Other

                                                                                                                                                                                                                                       190 Work
C/)                               BISHOP, AMY LEIGH                                     Om •w OA
LU                                                                                                                                 1975
Z                                                                                       IIF       DB       DI                                       DAVISTON, AL 36256                      (770)                                      191 Other
WITI




                        192                                                             193      194                  195                     196                                           197 Home                                   198 Work
                                                                                        0M        Ow       DA
                                                                                                                                                                                                                                       199 Other
                                                                                        OF        DB       01
                        200 Witness 81 SSN                                                              201 Witness #2 SSN                                                                 202 Witness #3 SSN



                        28N 10-04-2018 I, OFFICER GOODWIN                                                  RESPONDED TO THE CSX RAILROAD CROSSING ON N DONAHUE DR IN
                         REFERENCE TO A PEDESTRIAN BEING STRUCK BY A TRAIN. UPON ARRIVAL I SPOKE WITH THE VICTIM, MADISEN

                         ULRICH. ULRICH WAS CONSCIOUS AND LYING ON THE GROUND NEXT TO THE TRAIN TRACKS. ULRICH STATED SHE
NARRATIVE




                         DID NOT REMEMBER WHAT HAPPENED. I SPOKE WITH A WITNESS, AMY BISHOP. BISHOP WAS IN HER VEHICLE

                         FACING NORTHBOUND AND STOPPED DUE TO THE TRAIN CROSSING GATES BEING DOWN AND FLASHING. BISHOP

                         STATED SHE WITNESSED ULRICH WALKING AT A NORTHEAST ANGLE TOWARD THE TRAIN TRACKS ABOUT 45 FEET

                         FROM THE RAILROAD CROSSING. BISHOP STATED ULRICH WAS TALKING ON HER CELL PHONE AND DID NOT SEE THE

                         TRAIN APPROACHING EASTBOUND. I SPOKE WITH ANOTHER WITNESS, WESTON DAWSON. DAWSON WAS IN HIS

                         VEHICLE FACING NORTHBOUND AND STOPPED DUE TO THE TRAIN CROSSING GATES BEING DOWN AND MI- ViggYR PPlemnt
                        204 Contlnued on Supplement          205 Assisting Agency ORI                          206 Assisting Agency Case Number                                   207 SFX 208 Warrant Signed               Warrant #               209 Add. Cases Closed

                         •Yes            El No                                                                                                                                              El Yes El No                                           Narrative   01' ON
I her by affirm that l have read this report nd that all information given by me is correct to 210                                                                                                                                           211 Local Use
the best of my knowledge. l will assume full responsibility for notifying the agency if any
stolen property or missing person herein eported is returned.                                                                                                                                                                                212 State Use
                                                                                                                                                                          Signature
                                                                                                                                                                                                                                                                  ACJIC • 11-00
                       Case
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                                                           I Et,ND TE THIS REPORT   0Am     IN mIL    4 CASE #                    5 SFX
             ADDITIONAL INCIDENT/OFFENSE                   10/04/2018    16:40      El PM             18018075
             NARRATIVE CONTINUED
               DAWSON STATED HE WITNESSED ULRICH TALKING ON HER CELL PHONE AND WALKING TOWARD THE TRAIN TRACKS.
               DAWSON STATED AFTER ULRICH WAS STRUCK BY THE TRAIN SHE WAS LYING NEXT THE TRACKS. DAWSON STATED HE
               EXITED HIS VEHICLE AND PULLED ULRICH AWAY FROM THE TRAIN. EMS ARRIVED ON SCENE, TREATED ULRICH,
               THEN TRANSPORTED HER TO THE EAST ALABAMA MEDICAL CENTER. ULRICH IS AN AUBURN UNIVERSITY STUDENT,
               AND AU STUDENT AFFAIRS WAS NOTIFIED.
   NARRATIVE




               SUPPLEMENT #3     Cpl Gregory Kloepper - 6655      10/04/2018          18:20


               On 10/4/18, I responded to N Donahue Dr at the CSX railroad, in reference to this incident. I
               photographed the scene. I interviewed the victim, Madisen Ulrich, inside an ambulance. She did not
               appear to have any auditory deficits or mental disabilities. She stated she was walking home by
               herself toward Threel9 Bragg Apartments at 319 Bragg Av. She stated she was talking to her mother
               on the phone at the time, but she did not recall other specific events. She stated no one caused
               harm to her. She also stated she had no intention to harm herself or anyone else. I responded to
               the locomotive near the intersection of N Dean Rd. I met with the train engineer, Greg Johnson, and
               the train master, Michael Ray (229              ). Johnson stated he was operating the train eastbound
               through the N Donahue Dr crossing with the horn active. He observed the victim walk toward the
               tracks and not stop. He heard the train strike the victim and saw out his window that the victim
               had been struck. He brought the train to a stop and notified his dispatchers. The train was
               equipped with a forward facing video camera system. Ray downloaded the video. Per their policy, he
               could not allow me to record the screen, however he did show it to me. CSX employee Mike Haley
 NARRATIVE




               (334             or CSX Special Agent Scott Tompkins' (334                      i     will provide the video at a later
               date. The video depicted the train traveling eastbound at a recorded speed of 39 miles per hour.
               The horn and bell were active as it cleared the crossing. The victim appeared to be walking at a
               normal rate and appeared to walk into the path of the train. The victim appeared to be unaware that
               the train was present. There was no evidence that anyone caused harm to the victim, and it did not
               appear that she intentionally stepped into the path of the oncoming train. I spoke with Ulrich's
               mother, Tonya Ulrich by phone (701              1. She stated she was on the phone with her daughter.
               Tonya heard the train in the background and recognized that the victim was likely close to her
               residence. The phone disconnected. Tonya stated there was no indication Madisen attempted to harm
               herself. Tonya further explained that Madisen was happy and successful at school, and the
               conversation prior to the incident was an average discussion about the day.


               At 1820 hours, I conducted a follow up with Tonya by phone. She stated she was notified by EAMC
               staff that Madisen was airlifted to a hospital in Birmingham, AL. This was done because Madisen
               experienced a drop in blood count, which Tonya was told was normal for a patient after experiencing
NARRATIVE




               this level of trauma. Furthermore, Madisen sustained a broken pelvis and nick on her spleen from
               the incident. Tonya stated she would contact police if there were any additional changes in
               Madisen's condition. This case remains closed.


               SUPPLEMENT #8     Cpl Gregory Kloepper - 6655     10/23/2018          17:05
     .




               On 10/7/18, I, Cpl Kloepper, was contacted by Corey Ulrich, the victim's father, by phone
     .




               (701            . He provided a status update for the victim and stated she would possibly be in
     .




               hospital care for 90-120 days, though the exact amount of time and extent of injuries was still
     I




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            ADDITIONAL INCIDENT/OFFENSE                     10/04/2018    16:40       1:1 PM       18018075
            NARRATIVE CONTINUED
              unknown. On 10/9/18, I met with Mike Haley, Field Investigations Manager for CSX, at the Auburn
              Police Division. He provided a copy of the camera footage from the lead locomotive at the time of
              the incident. A redacted copy of the incident report was provided to him. On 10/23/18, a redacted
              copy of the incident report was provided to Corey Ulrich via E-mail at his request. The copy was
              sent to his two E-mail addresses   1         @svf.net, and                       @gmail.com). This case remains
              closed.
  NARRATIVE
NARRATIVE
NARRATIVE




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